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                        Exhibit A
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     Attorneys for Plaintiff
                                                          x
                                                               SUPERIOR COURT OF NEW JERSEY
    KENDRIX CANTIVE,                                           LAW DIVISION:        HUDSON COUNTY
                                                               DOCKET NO.: HUD-L-3540-18
                            Plaintiff,

                                                              CIVIL ACTION
                   vs.


                                                              SUMMONS

    DIVERSIFIED CONSULTANTS INC.,

                            Defendant.

                                                         X

     To the above-named Defendant:


            YOU ARE HEREBY SUMMONED to answer the Complaint in this action and to serve a copy of
    your answer, or, it the complaint is not served with this summons, to serve a notice of appearance on the
    Plaintiffs attorneys within thirty-five (35) days after the service of this summons, exclusive of the day of
    service; and in case of your failure to appear or answer, judgment will be taken against you by default for
    the relief as demanded in the complaint. The nature of this action is a violation of the FDCPA. The relief
    sought is damages. Upon your failure to appear, judgment will be taken against you by default together
    with the costs of this action.                                            /

    Dated: October 22. 201 8

                                                         Daniel Zcme^ Jtsq. (II) #1 1 1402014)
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     TO:    DIVERSIFIED CONSULTANTS INC.
             10550 Deerwood Park Boulevard, Suite j0
            Jacksonville. Florida 32256
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     KENDRIX CANTIVE,                                )   SUPERIOR COURT OF NEW JERSEY
                                                     )   HUDSON COUNTY
                   Plaintiff,                        )   LAW DIVISION

            vs.
                                                     )
                                                     )
                                                     )   Case No.:
     DIVERSIFIED CONSULTANTS INC.,
                                                     )
                    Defendant.                       )
                                                     )   COMPLAINT




            Plaintiff, Kendrix Cantive, alleges:

                                     PRELIMINARY STATEMENT



     1.     This is an action for damages arising from Defendant's violations of the Fair Debt


     Collections Practices Act, 15 U.S.C. §1692 etseq. (hereinafter "FDCPA").



                                     JURSIPICTION AND VENUE



     2. Plaintiff is a New Jersey resident, and the cause of action arose in New Jersey. As such, this

     Court has jurisdiction and venue over this action pursuant to R. 6:1-3.


                                                   PARTIES



     3.     Plaintiff is a natural person, who at all relevant times has resided in Jersey City, New Jersey

     and is a "consumer" as the phrase is defined and applied under 15 U.S.C. § 1692(a) of the FDCPA.


     4.     Diversified Consultants Inc. ("Defendant") is a corporation doing business in the State of

     New Jersey, with its corporate headquarters located at 10550 Deerwood Park Boulevard, Suite 309

     Jacksonville, Florida 32256 and is a "debt collector" as the phrase is defined and applied under 15

     U.S.C. § 1692(a) of the FDCPA in that they regularly attempt to collect on debts primarily incurred

     for personal, family or household purposes.
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                                           FACTUAL STATEMENT



     5.      On a date better known by Defendant, Plaintiff incurred an alleged debt stemming from


     personal cellular service from Verizon.


     6.      On or about October 20 1 7, Defendant sent Plaintiff an initial dunning letter seeking to

     collect the alleged debt.


     7.      In fact, Plaintiff had paid the debt to Verizon well prior to July 20 1 8.


     8.      By sending a collection letter to Plaintiff to collect on the debt, Defendant misrepresented

     the status of the debt as collectible, when it was already paid.


     9.      Further, during calls from Defendant concerning the debt, Plaintiff stated that he was not

     available between 9 am and 5 pm. Despite this, Defendant continued to call Plaintiff during those


     inconvenient times.


                                        COUNT I
               VIOLATIONS OF THE FAIR  DEBT    COLLECTION PRACTICES ACT
                                  15 U.S.C. SI 692 et sea.



     10.     Plaintiff repeats the allegations contained in the above paragraphs and incorporates them as

     if specifically set forth at length herein.



     1 1.    Defendant's false and deceptive representations to Plaintiff violate the below provisions of

     the FDCPA.



     12.     Section 1692c(a) provides:



                     § 1692c(a). Communication with the consumer generally



                     Without the prior consent of the consumer given directly to the debt collector
                     or the express permission of a court of competent jurisdiction, a debt collector
                     may not communicate with a consumer in connection with the collection of any
                     debt:...



                                                        2
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                    (1) at any unusual time or place or a time or place known or which should be
                    known to be inconvenient to the consumer. In the absence of knowledge of
                    circumstances to the contrary, a debt collector shall assume that the convenient
                    time for communicating with a consumer is after 8 o'clock antemeridian and
                    before 9 o'clock postmeridian, local time at the consumer's location.

     1 3.   Section 1 692e provides:



                    § 1692e. False or misleading representations



                    A debt collector may not use any false, deceptive, or misleading
                    representation or means in connection with the collection of any debt.
                    Without limiting the general application of the foregoing, the following
                    conduct is a violation of this section: . . .

                    (2)(A) The false representation of the character, amount, or legal status
                    of any debt.

                    (10) The use of any false representation or deceptive means to collect
                    or attempt to collect any debt or to obtain information concerning a
                    consumer.




            WHEREFORE, Plaintiff, Kendrix Cantive, respectfully requests that this Court grant

     Plaintiff actual and statutory damages, fees, and costs.


                                          JURY TRIAL DEMAND


     14.    Plaintiff demands a jury trial on all issues so triable.




     Dated this 7th day of September, 2018.


                                                            Respectfully Submith


                                                            /s/ Daniel Zemel
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                                                            Nicholas Linker, Esq.
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                                                        3
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